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       CONFIDENTIAL SETTLEMENT AGREEMENT AND GENERAL RELEASE

       This Settlement Agreement (“Agreement”) is entered into between Plaintiff, JOSEPH

GUGLIELMO, including his heirs, executors, administrators, successors, and assigns (hereinafter,

collectively, “Releasing Parties”) and Defendant, FULL COMPASS SYSTEMS, LTD. and their

affiliates, parent companies, subsidiaries, divisions, successors and assigns (hereinafter, collectively,

“Defendants”).

       WHEREAS, Plaintiff alleges that Defendant is a private entity that owns and/or operates

www.fullcompass.com (hereinafter the “Website”), which is available through the internet to personal

computers, laptops, mobile devices, tablets, and other similar technology and that the Website is a

place of public accommodation;

       WHEREAS, Plaintiff filed a purported class action alleging that following a compliance

review, the Website is not fully accessible to individuals with disabilities in violation of Title III of

the Americans with Disabilities Act of 1990 (“ADA”), the New York State Civil Rights Law, the

New York State and New York City Human Rights Laws and has filed suit in the U.S. District Court

for the Southern District of New York (the “Court”) entitled JOSEPH GUGLIELMO, on behalf of

himself and all others similarly situated v. FULL COMPASS SYSTEMS, LTD. (the “Action”) alleging

that the Website is not fully accessible to individuals with disabilities in violation of Title III of the

ADA, state and local law.

       NOW THEREFORE, in consideration of the mutual promises contained therein, and

intending to be legally bound, the parties agree, as follows:

       1.      General Release of Claims. For and in consideration of the promises, commitments

and undertakings set forth in this Agreement, and for other good and valuable consideration, the

receipt of which is hereby acknowledged, Plaintiff shall release and discharge Defendants, The

Cincinnati Insurance Company, together with their past, present, and future officers, directors,
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employees, stockholders, parent entities, sister entities, subsidiary entities, insurers, and to the

predecessors, successors, heirs, executors, administrators, and assigns of each of the foregoing, each

in their capacity as such (collectively, the “Released Parties”), from any and all claims, causes of

action, suits, demands, rights, liabilities, damages, lawsuits, losses, fees, costs or expenses of any kind

whatsoever, whether known or unknown, including any monetary, injunctive or declaratory relief

relating thereto, or for reimbursement of attorneys’ fees, costs and expenses, relating to the Action,

but not including claims related to the enforcement of this Agreement. This release specifically

applies to all claims regarding the accessibility of the Website, including but not limited to all claims

arising from or relating to the ADA, any federal, state, or local law, statute or ordinance, rule or

principle of common law or doctrine in law or equity, known or unknown, suspected or unsuspected,

foreseen or unforeseen, real or imaginary, actual or potential, through the date of this Agreement (the

“Released Claims”).      Plaintiff, on his own behalf and on behalf of the Releasing Persons,

acknowledges that he may have released claims that are presently unknown and that the release

contained in this Agreement is intended to and does fully, finally and forever discharge all such

released claims, whether now asserted or un-asserted, known or unknown, he may have against

Defendants and Released Parties.

       2.      Attorneys’ Fees, Costs, Expenses, and Payments. As a full and complete compromise

of all Released Claims, Defendant agrees to pay, and GUGLIELMO agrees to accept the total sum of

$19,500 (the “Settlement Payment”), as payment in full. The Settlement Payment shall be made

within twenty-one (21) days following Defendant’s receipt of the Agreement executed by Plaintiff,

and W9 of Plaintiff’s counsel. The Settlement Payment should be made payable to: STEIN SAKS,

PLLC, 285 Passaic Street, Hackensack, NJ, 07601. The Settlement Payment is made in satisfaction

of all claims which were raised, or could or should have been raised in the Lawsuit, by GUGLIELMO,

whether known or unknown, contingent, liquidated or unliquidated, including without limitation,

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GUGLIELMO’s attorney fees, court costs, associated expenses, expert or consultant fees or expenses,

damage claims, if any, and any and all other claims relating to the Lawsuit and the Released Claims.

       3.      Remedial Measures. The parties agree to comply with the terms of the Consent Decree

entered in this action, which includes the following:

       Web Accessibility Conformance Timeline: Defendant shall continue to ensure full and equal
       enjoyment of the goods, services, privileges, advantages, and accommodations provided by
       and through the Website (including all pages therein), including websites (including all pages
       therein and linked to therefrom) that can be navigated to/from the Website or which when
       entered reroute to the Website (collectively the “Websites”), according to the following
       timeline and requirements provided that the following dates will be extended in the instance
       that the Department of Justice issues regulations for websites under Title III of the ADA while
       this Consent Decree is in effect and which contain compliance dates and/or deadlines further
       in the future than the dates set forth herein:

       a. Defendant has already made modifications to the Websites, and, during the twenty-four
       (24) months following the Effective Date [of the Consent Decree], Defendant shall to the
       extent necessary continue to modify the Websites as needed to substantially conform to the
       Web Content Accessibility Guidelines 2.1 (“WCAG 2.1”) to the extent determined to be
       applicable, or any other WCAG guidelines deemed to be applicable, in such a manner so that
       the Websites will continue to be accessible to persons with vision disabilities.

       b. The Parties acknowledge that Defendant’s obligations under this Consent Decree do not
       include: (i) substantial conformance with WCAG standards for user-generated content and/or
       other content or advertisements and/or websites that Defendant does not own, operate, prepare
       or control but that are linked from the Websites (including, but not limited to, any
       content/websites hosted by third parties and implemented on the Website); and (ii) the
       provision of narrative description for videos. The Parties also agree that if the U.S. Department
       of Justice or a Court with jurisdiction over this matter determines that the WCAG standards
       or any successor standard that Defendant may have utilized are not required by applicable
       law, Defendant may choose, in their discretion, to cease the remediation efforts described
       above.

       c. In achieving such conformance, Defendant may, among other things, rely upon, in whole
       or in part, the User Agent Accessibility Guidelines (“UAAG”) 1.0; the Authoring Tool
       Accessibility Guidelines (“ATAG”) 2.0; the Guidance on Applying WCAG 2.1 to Non-Web
       Information and Communications Technologies (“WCAG2.1ICT”), published by the Web
       Accessibility Initiative of the World Wide Web Consortium (“W3C”); as well as other
       guidance published by the W3C’s Mobile Accessibility Task Force; the British Broadcasting
       Corporation Mobile Accessibility Standards and Guidelines 1.0 (“BBCMASG 1.0”) or any
       combination thereof. If Defendant, in reasonably relying upon any of the foregoing, fails to
       achieve substantial conformance with the applicable WCAG standard, Defendant will have
       nonetheless met its obligations.



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          d. If Defendant is unable to achieve substantial conformance with the applicable WCAG
          guidelines despite having used Reasonable Efforts to achieve substantial conformance, it shall
          be deemed to have satisfied its obligations under this Consent Decree as set forth herein
          regarding remediation of the Website.

                                  MISCELLANEOUS PROVISIONS
          4.      Enforcement. If any of the parties hereto claim that this Agreement or any portion of

it has been violated (“breach”), the party alleging the breach shall give written notice (including

reasonable particulars) of such violation to the party alleged to be in breach. The party alleged to be

in breach of the agreement must respond to such written notice of breach no later than sixty calendar

days thereafter (“Cure Period”). If the alleged breach is of a nature that it cannot be cured during the

Cure Period, the parties shall mutually extend the Cure Period to reflect the reasonable time period in

which the alleged breach can be cured. If the parties are unable to reach a mutually acceptable

resolution during the Cure Period, or any extension thereof, the party alleging a breach of the

Agreement may seek court enforcement of compliance with this Agreement. The Court shall, in its

discretion, award reasonable attorneys’ fees and costs to the prevailing party in any such enforcement

action.

          5.      Scope. This Agreement does not purport to remedy any violations or potential

violations of the ADA or any federal or state law, other than those relating to the accessibility of the

Website to individuals with vision disabilities.

          6.      Authority. The signatories represent that they have the authority to bind the respective

parties identified below to the terms of this Agreement.

          7.      Confidentiality. Plaintiff, for himself and his Counsel, agents and representatives, and

Defendant, its Counsel, agents and representatives, agree that, they will not without the prior written

consent of the other Party communicate, publish, display, discuss, disclose, reveal or characterize

(directly or indirectly by innuendo or other means) in any way to anyone under any circumstances (i)

the terms of this Agreement and (ii) the negotiations leading up to this Agreement, except (a) as may

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be required by Order of Court or other quasi-judicial or regulatory body with the legal right and power

to demand such information, (b) to Plaintiff’s or Defendant’s legal and financial advisors, in each

case where such disclosure may be required for legitimate legal, business or tax purposes and where

the recipient of such information agrees to receive and maintain the information in strict confidence

in accordance with the terms of this Agreement, (c) to any appropriate regulatory or tax authorities

with jurisdiction over Plaintiff or Defendant, and (d) as otherwise may be required by law. Prohibited

disclosure hereunder shall include, without limitation, the making of any statement, written or oral,

to any person through any medium, including (without limitation) newspaper, magazine, radio,

television or electronic media (such as internet website, chat room, instant messaging or any other

similar medium). If Plaintiff or Defendant, or their respective Counsel, agents or representatives

receive an unsolicited inquiry about this Agreement, the Action, any disputed matter, any released

claims, or any other matter subject to the confidentiality and non-disclosure provisions of this

Agreement, such Party will respond only that “the matter has been amicably resolved.” If any Party

shall be in material breach of the obligations in respect of the confidentiality and non-disclosure

provisions of this Agreement, the non-breaching Party shall be entitled to, in addition to other

remedies, temporary and permanent injunctions restraining such breach, and to a decree for specific

performance of this provision. The Plaintiff and Defendant agree that calculating the damages for the

breach of this provision is difficult. Therefore, Plaintiff consents to the entry of an award of liquidated

damages by a court of competent jurisdiction finding that Plaintiff breached this provision in an

amount equal to Settlement Amount described in Paragraph 2, above. The Parties further agree that

non-breaching Party shall be entitled to recover from the breaching Party its attorneys’ fees and costs

expended in any action or proceeding to enforce this Paragraph of this Settlement Agreement.

Notwithstanding the provisions above, it shall not be a breach of this provision for Defendant to

disclose the Settlement Agreement for the purposes of facilitating the withdrawal or dismissal of

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subsequent claims made by an individual with a disability, or his/her representative, that Defendant’s

Website is not accessible in violation of the law, however, in such case, Defendant’s shall redact the

provisions of Paragraph 2 (Payment of Certain Expenses) above.

        8.       Counterparts Permissible. This Agreement may be executed in counterparts, each of

which shall be deemed an original against the Party whose signature is provided, and all of which

shall be considered an original and together shall constitute one agreement binding on all Parties.

Electronic signatures shall be deemed to be as valid and enforceable as original ink signatures. Given

Plaintiff is visually impaired, it is permissible for his to electronically sign the Agreement by

confirming in email that he agrees to all of its terms or DocuSign or a comparable program.

        9.       Notices. All letters, notices, requests, demands and other communication required or

permitted to be given to the Parties pursuant to this Agreement shall be in writing, provided by

electronic mail, facsimile, and/or next-day (excluding Saturday and Sunday) express delivery service

and addressed as follows:


For Plaintiff:                                         Yaakov Saks, Esq.
                                                       STEIN SAKS, PLLC
                                                       285 Passaic Street
                                                       Hackensack, NJ, 07601
                                                       Email: ysaks@steinsakslegal.com
                                                       Phone: 201-282-6500
                                                       Fax: 201-282-6501

For Defendants:                                        Nadia Del Toro, Esq.
                                                       LITCHFIELD CAVO, LLP
                                                       420 Lexington Ave.
                                                       New York, New York
                                                       212-434-0100
                                                       deltoro@litchfieldcavo.com




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       10.     Governing Law. This Agreement shall be governed by the laws of the State of New

York without regard to conflicts or choice of law rules or principles. Any action to enforce the terms

of this Agreement shall be filed in the State of New York only.

       11.     Waiver. If a party, by its actions or omissions, waives or is adjudged to have waived

any breach of this Agreement, any such waiver shall not operate as a waiver of any other subsequent

breach of this Agreement.

       12.     Non-Assignment. Plaintiff represents and warrants that he has made no assignment,

and will make no assignment of any claim, right to sue, right of action, or any right of any kind

whatsoever, embodied in any of the claims and allegations which are being released, as set forth

above, and that no other person or entity of any kind had or has any interest in any of the demands,

obligations, actions, causes of action, debts, liabilities, rights, contracts, damages, attorneys’ fees,

costs, expenses, losses, or claims referred to herein.

       13.     Non-admission of Wrongdoing. The Parties agree that neither this Agreement nor the

furnishing of the consideration for this Agreement shall be deemed or construed at any time for any

purpose as an admission by the Released Parties of wrongdoing or evidence of any liability or

unlawful conduct of any kind.

       14.     Amendment. This Agreement may not be modified, altered, or changed except in

writing and signed by all Parties wherein specific reference is made to this Agreement.

       15.     Stipulation of Dismissal. Within 10 days of the date Plaintiff’s counsel receives the

Settlement Amount, the parties, through their respective attorneys of record, shall execute, and

Plaintiff, through his attorneys of record shall file the stipulation and order of dismissal.

       16.     Successor and Assigns. This Agreement is binding upon and shall inure to the benefit

of the parties hereto and their respective heirs, executors, administrators, personal or legal

representatives, successors and/or assigns.

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       IN WITNESS WHEREOF, MARK NASH on behalf of FULL COMPASS SYSTEMS,
LTD. (RELEASEE) has hereunto set (RELEASEE’s) hand and seal of the ______ day of
______________, 2020.


                                                              _______________________
                                                              MARK NASH, President
                                                              FULL COMPASS SYSTEMS, LTD.

In the Presence Of:
STATE OF                       )
                               ) ss.:
COUNTY OF ____________ )


On _________________, 2020 before me, the undersigned, personally appeared MARK NASH
Personally known to me or proved to me on the basis of satisfactory evidence to be the individual
whose name is subscribed to the within instrument and acknowledged to me that he/she/they executed
the same in his/her/their capacity and that by his/her/their signatures on the instrument, the individual
or the person upon behalf of which the individual acted, executed the instrument.


________________________
NOTARY PUBLIC




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